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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

LUIS RAUL GANDARA CARRILLO and                        §
all other similarly situated under 29 U.S.C.          §
2216(B)                                               §
                                                      §
     Plaintiff,                                       §
                                                      §
v.                                                    §
                                                      §               CIVIL ACTION 3:14-cv-00405-P
CREST-MEX CORPORATION d/b/a                           §
LASIERRA APARTMENTS, MTORMA                           §
TRUST, DALLAS NET LEASE TRUST,,                       §
SIERRA MANAGEMENT TRUST, and                          §
THOMAS TOWNSEND                                       §
                                                      §
     Defendants.                                      §

                          DEFENDANT THOMAS TOWNSEND’S
                       MOTION FOR JUDGMENT ON THE PLEADINGS

       Pursuant to Federal Rule of Civil Procedure 12(c), Defendant Thomas Townsend

(“Townsend”) files this Motion for Judgment on the Pleadings and states as follows:

       1.         Plaintiff Luis Raul Gandara Carrillo (“Plaintiff” or “Carillo”) sued Townsend and

four corporate and/or trust defendants for negligence and failure to pay overtime under the Fair

Labor Standards Act. Plaintiff’s own Complaint demonstrates, however, that Plaintiff has not

pled a valid negligence claim against Townsend. Accordingly, Townsend files this Motion for

Judgment on the Pleadings, requesting the Court to dismiss with prejudice Plaintiff’s negligence

claim against Townsend.

       2.         Pursuant to Local Rule 7.1(d), Townsend’s Brief in Support of his Motion for

Judgment on the Pleadings that sets forth Townsend’s contentions of fact and/or law, and

argument and authorities, is being contemporaneously filed.

       WHEREFORE, Defendant Thomas Townsend respectfully requests that the Court grant

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this Motion for Judgment on the Pleadings, dismiss with prejudice Plaintiff’s negligence claim

against Townsend, and grant Townsend such other and further relief to which he may show

himself justly entitled.

                                                   Respectfully submitted,

                                                    LINDQUIST WOOD EDWARDS LLP

                                                   /s/Robert Wood
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                                                   ATTORNEYS FOR DEFENDANTS

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document was served on all counsel of
record via ECF, on September 30, 2015.


                                                    /s/Robert Wood
                                                    Robert J. Wood, Jr.




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